          Case 1:20-mj-04109-DHH Document 1 Filed 06/16/20 Page 1 of 5



                         IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                          :

               v.                                 :           MAGISTRATE NO. 20-1000

CERTAIN PERSON                                    :


                                              ORDER

               AND NOW, this 15th day of June, 2020 upon application of the United States

Attorney that the complaint, warrant and affidavit, and corresponding docket entries in the within

criminal proceeding be impounded, said motion is hereby GRANTED and it is

                                            ORDERED

that the complaint, warrant and affidavit, and corresponding docket entries, in the above-

mentioned case are hereby IMPOUNDED and to be retained in the custody of the Clerk of Court

until further order of the Court or until notified by the United States Attorney, or his

representative, that the defendant has been arrested, except that the Clerk of Court is authorized

to provide two certified copies of the warrant to the United States Marshals Service and the FBI.

The Clerk of Court is directed to make no public docket entry of the sealed documents and

motion and order to seal, and to provide copies of all sealed documents only to Robert J.

Livermore, Assistant United States Attorney.

               IT IS FURTHER ORDERED THAT the complaint, warrant and affidavit, and

corresponding docket entries, shall be unimpounded immediately upon notification by the United
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States Attorney, or his representative, that all of the defendants have been arrested or upon

further order of the Court.



                                                     BY THE COURT:




                                                       /s/ The Honorable Marilyn Heffley
                                                     HON. MARILYN HEFFLEY
                                                     United States Magistrate Judge
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                         IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                       :

       v.                                      :       MAGISTRATE NO. 20-1000

CERTAIN PERSON                                 :


                 MOTION TO IMPOUND COMPLAINT AND WARRANT

       The United States of America, by and through its attorneys, William M. McSwain,

United States Attorney in and for the Eastern District of Pennsylvania, and Robert J. Livermore,

Assistant United States Attorney for that District, moves that the complaint, warrant and

affidavit, and corresponding docket entries in the within criminal proceeding be impounded, and,

in support thereof, alleges that if the existence and content of these documents are made public

prior to the arrest of the defendant there is the risk that the defendant will flee, thereby hindering

the execution of the arrest warrant.

               WHEREFORE, the government respectfully requests that this Court enter an

order directing that the complaint, warrant and affidavit, and corresponding docket entries, in the

above-mentioned case be IMPOUNDED and be retained in the custody of the Clerk of Court

until further order of the Court or until notified by the United States Attorney, or his

representative, that the defendant has been arrested, except for the two certified copies of the

warrant to be provided to the United States Marshal's Service and the FBI. The government

further requests that the Clerk of Court be directed to make no public docket entry of the sealed

documents and motion and order to seal, and to provide copies of all sealed documents only to

Robert J. Livermore, Assistant United States Attorney, until further order of the Court or until
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notified by the United States Attorney, or his representative, that the defendant has been arrested.


                                              Respectfully submitted,

                                              WILLIAM M. McSWAIN
                                              United States Attorney



                                                  /s/ Robert J. Livermore
                                              Robert J. Livermore
                                              Assistant United States Attorney
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                                                          Livermore)


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                             PETER FRATUS



                                Defendant(s)


                                                              CRIMINAL COMPLAINT
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2QRUDERXWWKHGDWH V RI                                 June 6, 2020                           LQWKHFRXQW\RI            Philadelphia        LQWKH
       Eastern              'LVWULFWRI                Pennsylvania                 WKHGHIHQGDQW V YLRODWHG

               Code Section                                                                          Offense Description
 18 U.S.C. § 875(c)                                         Interstate threatening communications




            7KLVFULPLQDOFRPSODLQWLVEDVHGRQWKHVHIDFWV

 See attached Affidavit.




            ✔ &RQWLQXHGRQWKHDWWDFKHGVKHHW
            u

                                                                                                                      /s/ Joshua J. Hubiak
                                                                                                                      Complainant’s signature

                                                                                                            Joshua J. Hubiak, Special Agent, FBI
                                                                                                                       Printed name and title

6ZRUQWREHIRUHPHDQGVLJQHGLQP\SUHVHQFH


'DWH              June 15, 2020                                                                              /s/ The Honorable Marilyn Heffley
                                                                                                                         Judge’s signature

&LW\DQGVWDWH                                 Philadelphia, PA                                             HON. MARILYN HEFFLEY, USMJ
                                                                                                                       Printed name and title
